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 8                                   UNITED STATES DISTRICT COURT
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                                    EASTERN DISTRICT OF CALIFORNIA
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                                                FRESNO DIVISION
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      GERALD CARLIN, JOHN RAHM, PAUL
13    ROZWADOWSKI and DIANA WOLFE,                             Case No. 1:09-cv-00430-AWI-EPG
      individually and on behalf of themselves and all
14    others similarly situated,
                                                               CLASS ACTION
                                       Plaintiffs,
15
      v.
                                                               ORDER GRANTING PLAINTIFFS’
16                                                             REQUEST TO SEAL DOCUMENT AND
      DAIRYAMERICA, INC.,                                      FILE REDACTED VERSION
17                                         Defendant.

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               This matter comes before the Court on the Plaintiffs’ Request to Seal Document and File
21
      Redacted Version (“Request”) pursuant to Civil Local Rules 140 and 141.
22
               Upon consideration of the Request, the papers submitted in support and in opposition
23
      thereto, and good cause appearing, the Request is GRANTED.
24
               Accordingly, Plaintiffs are permitted to file a redacted version of Plaintiffs’ Reply in
25
      Support of Motion For Leave To File Second Amended Consolidated Complaint on the public
26
      docket    and    Plaintiffs   will    email    the   unredacted      version    of   the    document    to
27

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      [1:09-cv-00430-AWI-EPG] ORDER GRANTING PLAINTIFFS’ REQUEST TO SEAL DOCUMENT AND FILE REDACTED VERSION
     Case 1:09-cv-00430-AWI-EPG Document 237 Filed 11/13/15 Page 2 of 2



 1    ApprovedSealed@caed.uscourts.gov for filing under seal. Only the parties’ counsel of record and

 2    the Court and its staff shall have access to the unredacted document.

 3
      IT IS SO ORDERED.
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 5    Dated:    November 13, 2015
                                                       SENIOR DISTRICT JUDGE
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      [1:09-cv-00430-AWI-EPG] ORDER GRANTING PLAINTIFFS’ REQUEST TO SEAL DOCUMENT AND FILE REDACTED VERSION
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